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                    EXHIBIT 1
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                LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT
                   (9330 E. 350 Highway, Raytown, MO Store No. 42001)
                                                            -




                THIS LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT (this
“Agreement”) is made by and among APPLEBEE’S RESTAURANTS KANSAS LLC, a
Kansas limited liability company, APPLEBEE’S RESTAURANTS MID-ATLANTIC LLC, a
Delaware limited liability company, APPLEBEE’S RESTAURANTS NORTH LLC, a
Delaware limited liability company, APPLEBEE’S RESTAURANTS TEXAS LLC, a Texas
limited liability company, and APPLEBEE’S RESTAURANTS WEST LLC, a Delaware
limited liability company (collectively, “Assignor”), and APPLE CENTRAL KC, LLC, a
Kansas limited liability company (“Assignee”) as of this 23rd day of July, 2015, with an
“Effective Date” as set forth below.

                                      WITNES SETH:

               WHEREAS, Assignor is the tenant under those certain lease agreements
described on Schedule I attached hereto and incorporated by reference herein (collectively, as
amended, modified and/or assigned from time to time, the “Lease”) regarding the premises
identified on Schedule I (the “Premises”); and
               WHEREAS, Assignor desires to assign its interest in the Lease to Assignee, and
Assignee desires to accept such assignment and to assume and agree to perform and fulfill all of
the terms, obligations and conditions imposed on Assignor by the Lease, subject to the terms
hereof.
               NOW, THEREFORE, in consideration of the mutual promises hereinafter
contained and for other good and valuable consideration, receipt of which is hereby
acknowledged, the parties agree as follows:
               1.     Assignment and Term. Assignor hereby assigns, transfers and conveys to
Assignee all of Assignor’s rights, title, and interest in and to the Lease and the Premises as of the
Effective Date (defined below), for the balance of the respective term (including any extensions
and renewals thereof) of the Lease, including but not limited to all rights related to options to
purchase and options to tenninate, renew or extend the term.

              2.     Possession and Effective Date. Assignee shall take possession of the
Premises and this Agreement shall be and become effective as of July 23, 2015 (the “Effective
Date”).

                3.      Assumption: Use of the Premises.          Assignee hereby accepts said
assignment, transfer and conveyance and assumes all obligations of Assignor under the Lease
arising on or after the Effective Date of this Agreement, including but not limited to payment of
all rent and other sums due by Assignor under the Lease and performance of all obligations,
duties and responsibilities of Assignor under the Lease. Assignee hereby covenants and agrees
for the benefit of Assignor and the landlord under the Lease that Assignee will keep, perform and
be bound by all of the terms, covenants and conditions required to be performed by Assignor
under the Lease from and after the Effective Date. Assignee agrees that it will use the Premises
for a “Permitted Use” under the terms of the Lease. Assignor and Assignee acknowledge and

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agree to their respective indemnification obligations set forth in Article VI of that certain Asset
Purchase Agreement between Assignor, Assignee and certain other parties dated April 20, 2015.

                4.     Notices. Assignee covenants and agrees to notify the landlord that the
tenant’s notice address under the lease shall include a duplicate copy to Assignor unless and until
the Assignor has been released from liability under such Lease. All notices to either party shall
be deemed given when sent by hand delivery, certified mail (return receipt requested), or
overnight delivery service, confirmed, to the appropriate party at the addresses set forth below,
or to such other address as may be designated in writing, from time to time, by the party.

                5.    Governing Law. As to the Lease set forth on Schedule I, this Agreement
shall be governed by and construed in accordance with the laws of the State which is the
applicable governing law pursuant to the terms of such Lease, without giving any effect to choice
of law rules thereof.

                6.       Binding on Successors and Assigns. This Agreement shall be binding
upon, and shall inure to the benefit of, the respective successors and assigns of the parties hereto,
subject to all restrictions containedin the Lease with respect to assignment, subletting or other
transfer.

                7.      Entire Agreement No Amendments. The agreements contained herein
constitute the entire understanding between the parties with respect to the subject matter hereof.
No amendment or modification of this Agreement will be effective unless in writing, executed
by all of the parties hereto.

               8.     Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed to be an original
and all of which counterparts taken together shall constitute but one and the same instrument.




                                 [Signatures on Following Pages]




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                IN WITNESS WHEREOF, the parties have executed this Agreement as of the
date first above written, effective as of the Effective Date.


                                      ASSIGNOR:

Address for Notices to Assignor:     APPLEBEE’S RESTAURANTS KANSAS LLC, a
                                     Kansas limited liability company
450 N. Brand Blvd, 7th
                       Floor
Glendale, California 91203
Tel: (818) 637-3647                  APPLEBEE’S RESTAURANTS MID-ATLANTIC
Fax: (818) 637-5362                  LLC, a Delaware limited liability company
E-mail:
Nedra.AustinDineEquity.com
Attn: Real Estate Counsel            APPLEBEE’S RESTAURANTS NORTH LLC, a
                                     Delaware limited liability company


                                     APPLEBEE’S RESTAURANTS TEXAS LLC, a
                                     Texas limited liability company


                                     APPLEBEE’S RESTAURANTS WEST LLC, a
                                     Delaware limited liability company

                                     By: Applebee’s Services, Inc., their authorized agent



                                     By:______________
                                     Nam t en R. Layt
                                     Title: resident




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Address for Notices to Assigçç:     ASSIGNEE:

9 Greenwich Office Park, 2’ Floor   APPLE CENTRAL KC, LLC
Greenwich, CT 06831
Tel:   (203) 992-1717               By: American Franchise Capital III, LLC,
Fax: (203)661-9462                      its Sole Member
Email: bgeorgasafcbrands.com
       tganshawafcbrands.com
Attn: Mr. William J. Georgas and
        Mr. Trevor Ganshaw          By:
                                    Name: William J. Georgas
                                    Title: Manager



                                    By:
                                    Name: Trevor Ganshaw
                                    Title: Manager




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                                        SCHEDULE I

                                     Lease and Premises


Lease:

1.     Land and Building Lease dated November 1, 2010 by Seyfarth Realty Corp., a New York
corporation as the Landlord and Applebee’s Restaurants Kansas LLC, Applebee’s Restaurants
Mid-Atlantic LLC, Applebee’s Restaurants North LLC, Applebee’s Restaurants Texas LLC, and
Applebee’s Restaurants West LLC, collectively as the Tenant.

2.      Guaranty dated November 1, 2010 by and between Applebee’s Enterprises, LLC a
Delaware limited liability company, Applebee’s Franchising, LLC, a Delaware limited liability
company, Applebee’s IP LLC, a Delaware limited liability company and Applebee’s Holdings,
LLC, a Delaware limited liability company, collectively as the Guarantor, and Seyfarth Realty
Corp., a New York corporation as the Landlord.

3.       Memorandum of Lease dated                      ,     by and between Seyfarth Realty
Corp., a New York corporation as the Landlord and Applebee’s Restaurants Kansas LLC, a
Kansas limited liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited
liability company, Applebee’s Restaurants North LLC, a Delaware limited liability company,
Applebee’s Restaurants Texas LLC, a Texas limited liability company and Applebee’s
Restaurants West LLC, a Delaware limited liability company, collectively as the Tenant recorded
on                               in                           as


Premises:     9330 E. 350 Highway
              Raytown, MO
              Store No. 42001


Legal Description:    See Schedule II attached hereto




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                                       SCHEDULE II

                                      Legal Description



Tract 1:

Lot 3, SCHNUCK’S RAYTOWN SQUARE, a subdivision in Raytown, Jackson County,
Missouri, according to the recorded plat thereof.


Tract 2:

Lot 4, SCFfNUCK’S RAYTOWN SQUARE, a subdivision in Raytown, Jackson County,
Missouri, according to the recorded plat thereof.


Tract 3:

Together with an appurtenant perpetual non-exclusive easement for pedestrian ingress and egress
and vehicular ingress to and egress as established, described and defined by the instrument
denominated Construction, Operation and Restrictions Easement Agreement (“COREA”), filed
for record August 11, 1995, as Document No. 1-1362210 in Book 1-2725 at Page 1629 and by
instrument denominated Construction, Operation and Restrictions Easement Agreement
(“COREA”), filed for record November 18, 2002, as Document No. 200210105776, as further
defined therein.

Being a part of Lots 1 and 5, SCHNUCK’S RAYTOWN SQUARE, a subdivision in Raytown,
Jackson County, Missouri, according to the recorded plat thereof.




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